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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMBRICA
21 cr. HO\ (eM)

Vv.
CHASKEL LANDAU,

Defendant.
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INFORMATION

COUNT ONE

The United States Attorney charges:

1. From at least in or about September 2014, up to
and including at least in or about December 2015, in the
Southern District of New York and elsewhere, CHASKEL LANDAU, the
defendant, and others known and unknown, did willfully and
knowingly conduct, control, manage, supervise, direct, and own
all and part of an unlicensed money transmitting business |
affecting interstate and foreign commerce, to wit, LANDAU aided
and abetted the transmission of approximately $500,000, for the
purpose of facilitating tax evasion, and which unlicensed money
transmitting business failed to comply with the money
transmitting business registration requirements set forth in
federal law and regulations, in violation of Title 18, United

States Code, Section 1960.
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(Title 18, United States Code, Sections 1960 and 2.)

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AUDREY STRAUSS
United States Attorney

